Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 1 of 30




  EXHIBIT B
012312425                                      67879ÿ61-3ÿFiled
                   Case 1:21-cv-01627-CCC Document           ÿ 08/26/21 Page 2 of 30
   7ÿÿ" 7ÿ
                                                            !7
                                               3456ÿ89:;<=4>8;9
  3?@AB@CDAABEÿF<849ÿ3G6<H4I4Jÿ6>ÿ4IKÿLMKÿI8?49;?4ÿN6O>53GI49NÿP=FGJÿ6>ÿ4IK
                                                   NQRSTUÿ8VWQXYZU[QV
              NQRSTUNQRSTUNQRSTUÿNTMRX[`U[QV
 :[\[V]ÿNZUT ^Z                                                                                       ?[Ta
                 XU_ >_`T                                                                            8YZ]T
 4012312425  bc bcdceÿf.)ÿfcgÿ.,edffhijÿkg,eÿ6l)g/,.,h5jÿÿ2cee)
                            6l)g/,.,h2jÿ)eeiÿgÿ.,eicme)ÿ44234n3ÿbcdceÿfcgÿg).)f
                            0gi0,edÿdcÿ6ÿgÿ54hjh2jhkjÿhf.)ÿ6ce60gg)ed.2ÿmdlÿ.,edffio
                            6cb.,edj
 4012312425 e1, if p0+)ÿm..,bÿfÿkÿcg)2ÿ,ii+e)ÿhg,ecbj
 4012312425 5 if .)+,.ÿg)i),g6l
 4012312425 5 if .)+,.ÿe)mi
 4012312425 5 if .)+,.ÿ,
 4012312425 5 if 6c0gdÿi)6,.ÿgcp)6diÿf0e
 4012312425 5 if 6cb0d)gÿf))
 4012312425 5 if 6.)g/oiÿf))
 4012312425 5 if )cidÿ,bc0edÿ,ÿi,e+)ek)g+qÿilk.)2ÿ1ÿ.k)gqÿ..
 4012312425 e1, if 6,i)ÿf.)ÿ6cb.,ed
 c9ÿ ÿ 779ÿ!ÿ!!ÿ879r9ÿ!"ÿ ÿ6 ÿ6ÿ69!ÿÿ6!qÿ879r9ÿ7ÿ !qÿ9ÿr ÿ!97ÿ
   ÿ!ÿÿ!!ÿ
 m r7ÿ- 7ÿ!ÿ6"" ÿ
 6!7ÿsÿ2425ÿgcm,g)ÿ,99ÿg7ÿg !8ÿ552t3




11 166 !" 7 #$%&2'()*9*)+#,-57./05'217!7&2          515
                Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 3 of 30
                                                                                             Motion No. 4953971




                                           NAILAH K. BYRD
                                   CUYAHOGA COUNTY CLERK OF COURTS
                                                    1200 Ontario Street
                                                   Cleveland, Ohio 44113




                                             Court of Common Pleas


                                                   MOTION FOR...
                                                 August 26,2021 11:20


                                       By: DENNIS R. LANSDOWNE 0026036

                                               Confirmation Nbr. 2336456



  BRIAN CHERKALA, ET AL.                                                   CV 21 952213

          vs.
                                                                 Judge: WILLIAM E B. VODREY
  LIVANOVA DEUTSCHLAND GMBH, ET AL.




                                                    Pages Filed: 27




Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
              Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 4 of 30



                                    IN THE COURT OF COMMON PLEAS
                                        CUYAHOGA COUNTY, OHIO

      BRIAN CHERKALA, et al.                                    )   CASE NO. CV 21 952213
                                                                )
                                        Plaintiffs              )   JUDGE VODREY
                                                                )
              vs.
                                                                )   MOTION FOR RELIEF PURSUANT TO
      LivaNova Deutschland, GmbH, et al.                        )   CIV.R. 10(D)(2)(b) [Filed concurrently
                                                                )   with Plaintiffs’ Complaint]
                                        Defendants              )
                                                                )

             Plaintiffs Brian and Yvonne Cherkala, by and through counsel, hereby submit this

     Motion for Relief Under Civ.R. 10(D)(2)(b).

       I. INTRODUCTION

             This lawsuit against Defendant Cleveland Clinic Foundation (“CCF”) does not

     allege “medical claims” under R.C. 2305.113 because the wrongful conduct alleged in the

     Complaint does not arise from Plaintiff Brian Cherkala’s medical care or treatment.

     Instead, the negligent acts and omissions are believed to have occurred before the open­

     heart surgery he received and involved either: 1) nonmedical CCF technicians’ failure to

     properly disinfect the heater-cooler device that later introduced harmful bacteria to his

     body; or 2) CCF administrators’ failure to replace the defective heater-cooler or train and

     supervise the nonmedical technicians tasked with disinfecting the device. The negligence

     of these nonmedical actors, none of whom are believed to have been Mr. Cherkala’s

     caregivers, does not qualify as a “medical claim” under Ohio law, and therefore an affidavit

     of merit is not required.

             However, if their claims against CCF are deemed to be medical claims, Plaintiffs

     request an extension of time to file an affidavit of merit pursuant to Civ.R. 10(D)(2)(b).



Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
              Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 5 of 30



     Good cause exists to grant such an extension under Civ.R. 10(D)(2)(c) because Plaintiffs

     are not in possession, despite diligent efforts, of documents that would allow a medical

     doctor (or other qualified expert) to render an expert opinion meeting the requirements of

     Evid.R. 702 that CCF breached a medical standard of care. Indeed, to date no evidence

     has come to light that would show that the claims against CCF do constitute medical

     claims under R.C. 2305.113. Plaintiffs request an extension of the period in which to file

     an affidavit of merit until such time as the facts demonstrate medical claims exist.

             As such, and for the reasons explained in greater detail below, an affidavit of merit

     is not required in this action. In the alternative, Plaintiffs request an extension of time to

     file an affidavit of merit based upon good cause shown.

               II.      FACTUAL BACKGROUND

                     A. Allegations in the Complaint

             The lawsuit arises from the negligent design, manufacture, warning, and

      maintenance of a Stockert 3T Heater-Cooler device that was later utilized in Plaintiff

      Brian Cherkala’s open-heart surgery. Complaint at                   1,47-86.

             The 3T Heater-Cooler regulates blood temperature during cardiothoracic surgery

      by circulating water through tubes into a heat exchanger where blood is pumped into

      separate chambers during surgery. The water tanks and other areas through which water

      passes aerosolize a vapor containing non tuberculosis mycobacterium (NTM), which

      exits out of the device and is pushed into the ambient air of the operating room through

      the System’s exhaust fan. If placed in the operating room, contaminated vapor from the

      3T System directly enters the sterile surgical field and the patient’s open body. Complaint




Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                           2
              Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 6 of 30



      at 1H116-17. If NTM enters a patient’s open chest cavity during surgery, it can colonize

      and infect the patient’s body, causing severe illness. Id. at                12-15.

             After CCF learned that these heater-coolers could introduce harmful NTM bacteria

      into the bodies of patients, they had two choices: replace the units or diligently disinfect

      them. Complaint at           79-86. The cleaning and disinfection of the heater-cooler units is

      believed to have been performed by nonmedical technicians or engineers. Id. at 81.

             Plaintiffs have no documentary evidence on which an expert could rely that shows

      what, if anything, was done to clean or disinfect the heater-cooler units, when any

      cleaning or disinfection was attempted, or who attempted it. Given this dearth of evidence

      at this time, Plaintiffs are unable to produce an expert affidavit regarding standard of

      care. Nevertheless, NTM entered Mr. Cherkala’s chest cavity during his surgery,

      colonized, and led to permanent and debilitating illness. Id. at 86. Plaintiffs therefore

      allege that CCF negligently maintained and cleaned the units, negligently failed to train

      and supervise the nonmedical personnel responsible for the maintenance and cleaning,

      and/or negligently failed to replace the defective units. Id. at                79-86.

                  B. Plaintiffs’ attempts to obtain necessary documents from CCF

             On September 15, 2020, Plaintiffs issued a subpoena to CCF in connection with

      their case filed against the manufacturer Defendants in Federal Court. See Exhibit 1.

      The case was transferred to MDL 2816, currently pending in the Middle District of

      Pennsylvania. The subpoena sought, among other things, documents (mostly non­

      medical records) relating to: 1) the maintenance, cleaning, and disinfection of the heater­

      cooler used during Mr. Cherkala’s surgery; 2) modifications to CCF’s heater-cooler

      devices, including replacement of PVC tubing; 3) training, information, education, and/or



Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                           3
              Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 7 of 30



      certification provided to CCF employees by the manufacturer Defendants; and 4) CCF

      policies and procedures relating to the cleaning and disinfection of heater-cooler devices.

             On October 8, 2020, CCF responded to the subpoena and produced 1,036 pages

      of documentation, comprised mostly of communications between the manufacturer

      Defendant entities and CCF. However, CCF maintained many objections to the requests,

      and did not produce documents evidencing the maintenance, cleaning, and disinfection

      of the heater-cooler unit used during Mr. Cherkala’s surgery, modifications to its heater­

      cooler units, or its own policies, procedures, and protocols relating to the cleaning and

      disinfection of its heater-cooler units. CCF indicated it was only producing the documents

      in “good faith.” See Exhibit 2.

             On March 5, 2021, Plaintiffs’ counsel wrote CCF and detailed fifteen categories

      which appeared to have been ignored or from which documents appeared to be missing.

      Exhibit 3. Two months later, after having received no reply, Plaintiffs’ counsel followed

      up his letter with an email. Exhibit 4. On May 24, 2021, CCF responded that it produced

      all non-privileged documents “pertinent to Mr. Cherkala,” but also emphasized that

      “discovery like this is supposed to be stayed in the MDL,” and that Plaintiffs should have

      “everything needed to participate in the MDL process... including the MDL settlement

      program.” Id. On June 22,2021, Plaintiffs’ counsel responded that he needed documents

      showing that CCF cleaned and disinfected the heater-coolers to respond to the

      manufacturer Defendants’ allegations that CCF failed to follow their cleaning and

      disinfection instructions, as well as all of the other documents identified in his prior letter.

      Exhibit 5. Since that letter, CCF has failed to further respond or produce any

      documentation.



Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                           4
              Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 8 of 30



      III.   PLAINTIFFS’ CLAIMS ARE NOT MEDICAL CLAIMS UNDER R.C. 2305.113

             The claims brought against CCF in the Complaint are not “medical claims” because

     the negligent conduct did not “arise[] out of’ Mr. Cherkala’s “medical diagnosis, care, or

     treatment.” R.C. 2305.113(E)(3) Furthermore, for negligent training and supervision

     claims to be deemed “medical claims” they must relate to a “caregiver providing medical

     diagnosis, care, or treatment;” here, they do not. R.C. 2305.113(E)(3)(c)(ii).

             “[N]ot all injuries that a patient might sustain in a hospital or nursing home setting

     are necessarily “medical claims.” Balascoe v. St. Elizabeth Hosp. Med. Ctr., 110 Ohio

     App.Sd 83, 85, 673 N.E.2d 651 (7th Dist.1996).” Haskins v. 7112 Columbia, Inc., 7th Dist.

     No. 13 MA 100, 2014-Ohio-4154, 20 N.E.3d 287,                    16 (citations in original.)

             To be a medical claim, a claim must arise from the plaintiffs “medical diagnosis,

     care, or treatment.” See 2305.113(E)(3). To determine if a claim “arises” from these

     specific and narrow circumstances, the Ohio Supreme Court ruled that the law requires

     an examination of whether the actor’s conduct “directly involved” the “identification and

     alleviation of a physical or mental illness, disease, or defect.” See Browning v. Burt, 66

     Ohio St.3d 544, 557 (1993).

             Here, Mr. Cherkala has not alleged that CCF’s misconduct “directly involved” the

     identification and alleviation of his illnesses. Instead, CCF’s misconduct occurred well

     before his surgery and did not specifically relate to him as a patient. Mr. Cherkala alleges

     that, before his surgery, CCF failed to maintain, disinfect, or replace the defective heater­

     cooler device or to adequately train and supervise the nonmedical technical personnel

     who were tasked with maintaining or disinfecting the device. Complaint at fflj 79-86.




Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                           5
              Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 9 of 30



             In Browning, supra, the Ohio Supreme Court found that a claim for negligent

     credentialing of a doctor who later committed medical malpractice was not a medical

     claim subject to the statute. 66 Ohio St.3d at 557. “Claims against a hospital for negligent

     credentialing do not arise out of the medical diagnosis, care, or treatment of a person.

     Negligent credentialing claims arise out of the hospital’s failure to satisfy its independent

     duty to grant and continue staff privileges only to competent physicians.” Id. at 557.

             Browning is instructive because the Court defined “medical diagnosis, care, or

     treatment” and provided guidance for interpreting R.C. 2305.113. Browning, supra, 66

     Ohio St.3d at 557. “The terms ‘medical diagnosis’ and ‘treatment’ are terms of art having

     a specific and particular meaning relating to the identification and alleviation of a physical

     or mental illness, disease, or defect.” Id. The term ‘care’ “should not be broadly

     interpreted.” Id. To be a medical claim, the actor’s conduct must “directly involve” the

     identification and alleviation of a physical or mental illness, disease, or defect. Id.

             The Court concluded that administrative negligence in credentialing a doctor did

     not “directly involve” identifying or alleviating any physical or mental illnesses of the

     plaintiff. 66 Ohio St.3d at 557. It found this to be true even though such negligence “may

     ultimately lead to an act of medical malpractice by the incompetent physician.” Browning,

     supra, 66 Ohio St.3d at 557. “The physician’s ultimate act of medical malpractice is

     factually and legally severable and distinct from the hospital’s acts or omissions in

     negligently credentialing him or her...” Id.

             Despite the General Assembly’s later amendment of the law to specifically

     encompass negligent credentialing, the general “rule of Browning" still stands: “The rule

     of Browning requires proof that the actor’s conduct related to the identification and



Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                           6
             Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 10 of 30



     alleviation of a physical or mental illness, disease, or defect in order to constitute the basis

     of a medical claim.” Jett v. Interim Healthcare, 2nd Dist. Montgomery No. 22727, 2008-

     Ohio-6332, If 44. (emphasis added.)

             If a defendant’s conduct did not directly involve the identification and alleviation of

     an illness, a plaintiff’s claim is not a “medical claim.” In Summers v. Midwest Allergy

     Assoc., Inc., 10th Dist. Franklin No. 02AP-280, 2002-Ohio-7357, H 34, a cabinet came

     loose from the wall in a hospital and fell on the plaintiff while she was undergoing a

     physician-ordered treatment. The Court found that there was no “medical employee

     responsible for exercising professional expertise that was either responsible for, or could

     have eliminated, her injury.” Id. Instead, the claim arose from the hospital’s failure to

     maintain its premises and was not a medical claim. Id. See also Balascoe v. St. Elizabeth

     Hospital Med. Ctr. (1996), 110 Ohio App.Sd 83, 673 N.E.2d 651, [the plaintiff was an

     emergency room patient of the defendant hospital and she slipped and fell on a piece of

     plastic left on the floor, suffering personal injuries; the claims were not medical claims];

     Tayerle v. Hergenroeder (Dec. 10, 1999), Geauga App. No. 98-G-2195, [plaintiff went to

     the physician’s office to receive physical therapy after knee surgery and fell leaving the

     office; not a medical claim.]

             In Boltenhouse v. Ohio State Univ. Hosp., 540 N.E.2d 761, 762-763 (Ct.of

     Cl.1989), the plaintiff’s decedent was addicted to pain medication and was treating at the

     defendant hospital. The decedent was allowed to purchase a large amount of Tylenol at

     the hospital gift shop, and overdosed. There, the “[p]laintiff did not claim that there was

     any medical diagnosis, care, or treatment which was unacceptable. Rather, the critical

     issue pertains to whether defendant was negligent in selling drugs to said patient at the



Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                           7
             Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 11 of 30



     defendant's gift shop without physician approval.” Id. “The court views this action as a

     claim of negligence as to hospital administration, and as such R.C. 2305.11 and

     Evid.R. 601(D) are not applicable.” Id.

             Here, Mr. Cherkala’s allegations and claims do not “directly involve” the

     identification and alleviation of his illnesses. The errors were made by the hospital

     administration, through failing to replace equipment, order disinfection of equipment, or

     train and supervise the nonmedical technicians and engineers in the proper disinfection

     of that equipment. Alternatively, the errors were made by the nonmedical technicians and

     engineers in improperly disinfecting the heater-coolers. These are not medical errors

     made during the diagnosis, care, or treatment of Mr. Cherkala. In fact, these errors

     occurred independent of Mr. Cherkala’s open-heart surgery altogether. In this case, the

     hospital administration and technical staff failed “to satisfy [their] independent duty” to

     maintain the heater-coolers. Browning, supra, 66 Ohio St.3d 544 at 557.

             Like the plaintiffs’ claims in Summers, Balascoe, Tayerle, and Boltenhouse, supra,

     Mr. Cherkala’s claims are demonstrably distinct and severable from any sort of “medical

     negligence” claim that, in theory, could arise from an open-heart surgery and be brought

     against a doctor or nurse, like the retention of a foreign body, for example. Because Mr.

     Cherkala’s claims1 are not medical claims, no affidavit of merit is required.




     1 If Mr. Cherkala’s claims against CCF are not medical claims, neither is Mrs. Cherkala’s derivative claim
     for loss of consortium.

Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                           8
             Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 12 of 30



             A.       Mr. Cherkala’s Claims Do Not Result from “Medical Care” or Involve
                      “Caregivers”

             R.C. 2305.113(E)(3)(c) sets forth additional criteria under which a claim could be

     labeled a “medical claim.” Those criteria are not met here and therefore no affidavit of

     merit is required.

             Subsection (E)(3) of the statute expands on what constitutes a “medical claim,”

     including:

                      (c) Claims that arise out of the medical diagnosis, care, or
                      treatment of any person... and... either of the following
                      applies: (i) the claim results from acts or omissions in
                      providing medical care, (ii) the claim results from the hiring,
                      training, supervision, retention, or termination of caregivers
                      providing medical, diagnosis, care, or treatment.

     R.C. 2305.113(E)(3)(c). (emphasis added.)

             The relevant questions are whether CCF’s negligence occurred during the

     provision of “medical care” to trigger R.C. 2305.113(E)(3)(c)(i); and whether the

     nonmedical technicians and engineers qualify as “caregivers” under subsection (ii). The

     answer to both is no.

             First, as explained above, Mr. Cherkala’s claims do not result from CCF’s “acts or

     omissions in providing medical care.” R.C. 2305.113(E)(3)(c)(i). In proximately causing

     Mr. Cherkala’s injuries, CCF and its nonmedical employees were not attempting to

     “identify or alleviate” any illness specific to him, to use the Ohio Supreme Court’s definition

     of “medical care.” Browning, supra, 66 Ohio St.3d at 557. Their wrongful conduct

     surrounded the         maintenance of heater-cooler devices generally and                      occurred

     independent of Mr. Cherkala’s surgery. Therefore, Mr. Cherkala’s claims did not result




Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                           9
             Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 13 of 30



     from    CCF’s      “acts   or omissions         in   providing     [him]   medical      care,”   and   R.C.

     2305.113(E)(3)(c)(i) does not apply.

             Second, Mr. Cherkala’s claims of negligent training and supervision are not

     medical claims under R.C. 2305.113(E)(3)(c)(ii), either. Subsection (ii) applies only to

     negligent training and supervision of “caregivers providing medical diagnosis, care, or

     treatment.” Id. As explained above, the nonmedical technicians or engineers were not

     providing any medical care or treatment to Mr. Cherkala when they acted negligently. The

     same is true for the administrators who failed to replace the heater-cooler or train and

     supervise their staff. Moreover, the technicians, engineers, and administrators are not

     “caregivers,” and were not acting as such when they proximately caused Mr. Cherkala’s

     injuries, according to the allegations of the Complaint. CCF’s negligent acts had nothing

     to do with Mr. Cherkala; it simply failed to maintain its heater-cooler devices. Therefore,

     this subsection does not apply, and the claim is not a medical claim.

              IV.     ALTERNATIVELY, GOOD CAUSE EXISTS TO EXTEND PLAINTIFFS’

                      TIME TO PROVIDE AN AFFIDAVIT OF MERIT

             If an affidavit of merit is required in relation to Plaintiffs’ claims against CCF (it isn’t,

     as explained above), the Court should grant Plaintiffs additional time to obtain one, as

     authorized under Civ.R. 10(D)(2)(b), because good cause exists.

             Civ.R. 10(D)(2)(b) states that:

                      “The plaintiff may file a motion to extend the period of time to
                      file an affidavit of merit. The motion shall be filed by the
                      plaintiff with the complaint. For good cause shown and in
                      accordance with division (c) of this rule, the court shall grant
                      the plaintiff a reasonable period of time to file an affidavit of
                      merit, not to exceed ninety days, except the time may be
                      extended beyond ninety days if the court determines that a



Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                           10
             Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 14 of 30



                      defendant or non-party has failed to cooperate with discovery
                      or that other circumstances warrant extension.”

             In determining whether good cause exists, the Court should analyze certain

     factors, which include:

                      (i)     “A description of any information necessary in order to
                              obtain an affidavit of merit;
                      (ii)    Whether the information is in the possession or control
                              of a defendant or third party;
                      (iii)   The scope and type of discovery necessary to obtain
                              the information;
                      (iv)    What efforts, if any, were taken to obtain the
                              information;
                      (v)     Any other facts or circumstances relevant the ability of
                              the plaintiff to obtain an affidavit of merit.”

             Civ.R. 10(D)(2)(c).

             All of those factors weigh in favor of granting this Motion and extending the period

     in which to file an affidavit of merit until such time as facts are discovered that show

     Plaintiffs’ claims are, in fact, medical claims.

             First, the information necessary to obtain an affidavit of merit would include

     documents and testimony indicating CCF’s efforts, or lack thereof, to clean, disinfect, and

     otherwise maintain the heater-cooler devices. As it stands now, Plaintiffs have no

     documentary or other evidence upon which an expert could rely that shows what CCF did

     or did not do in that regard, and therefore cannot obtain an affidavit of merit that comports

     with Evid.R. 702.

             Second, the information Plaintiffs need is in the possession or control of CCF.

     Critically, this information consists of “non-medical-record materials,” as CCF pointed out

     in its email to Plaintiffs’ counsel. Exhibit 4. As such, Mr. Cherkala has no independent

     right to receive that information, as he would if it were contained within his medical




Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                           11
             Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 15 of 30



     records. CCF controls this information, and has not produced it, despite repeated

     requests.

             Third, the scope of discovery necessary to obtain that information would include

     requests for production, interrogatories, and the deposition of a corporate representative

     pursuant to Civ.R. 30(B)(5).

             Fourth, Plaintiffs have diligently sought the information required to obtain the

     affidavit of merit, but CCF has refused to produce it. As noted above, Plaintiffs sent a

     subpoena in connection with the MDL pending in the Middle District of Pennsylvania, but

     CCF would not produce documents relating to the maintenance, cleaning, and

     disinfection of the heater-cooler, as well as its policies, procedures, and protocols

     pertaining to the same, among others. Plaintiffs’ counsel was unsuccessful in his multiple

     attempts to gain CCF’s compliance with the requests in the subpoena.

             Last, the circumstances present here establish good cause to grant this Motion: as

     set forth above, it is not at all clear that Plaintiffs’ claims are medical claims. Discovery

     would be required to make that determination. Plaintiffs should not have to spend the

     money to retain an expert to provide an affidavit of merit at this stage given that it appears

     one is not required. Therefore, good cause exists to grant Plaintiffs additional time to

     submit an affidavit of merit. Specifically, Plaintiffs should not be required to submit an

     affidavit of merit until the facts demonstrate that this case does allege medical claims

     under R.C. 2305.113.

               V.     CONCLUSION

             As demonstrated above, Plaintiffs did not allege wrongful conduct arising from any

     medical diagnosis, care, or treatment Mr.                     Cherkala received, as required by



Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                           12
             Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 16 of 30



     R.C. 2305.113. Nor have they sued any caregivers for wrongful conduct in providing

     medical care. As such, an affidavit of merit is not required. In the alternative, however,

     Plaintiffs request an extension of time to obtain an affidavit of merit. Good cause exists to

     extend the period to file an affidavit of merit until such time as the facts demonstrate

     Plaintiffs’ claims are medical claims.

                                                        Respectfully submitted,


                                                        /s/Dennis R. Lansdowne_________
                                                        DENNIS R. LANSDOWNE (0026036)
                                                        WILLIAM HAWAL (0006730)
                                                        MICHAEL P. LEWIS (0099621)
                                                        SPANGENBERGER SHIBLEY & LIBER LLP
                                                        1001 Lakeside Avenue East, Suite 1700
                                                        Cleveland, OH 44114
                                                        (216) 696-3232 (PH); (216) 696-3924 (FAX)
                                                        dlansdowne@spanglaw. com
                                                        whawal@spanglaw. com
                                                        mlewis@spanglaw. com

                                                        Counsel for Plaintiffs




Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                           13
                 Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 17 of 30


   AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action



                                          United States District Court
                                                                              for the



    Brian Cherkala, et al.
                                                                                 )
                                  Plaintiff                                      )
                                     V.                                          )           Civil Action No. 1:20 cv 1938
                                                                                 )
   LivaNova PLC, et al.                                                          )
                                Defendant                                        )

                          SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                            OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

   To:
             The Cleveland Clinic Foundation
                                                         (Name ofperson to whom this subpoena is directed)

       KJ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material:   See attached Duces Tecum



    Place:spangenberg Shibley & Liber                                                    I Date and Time:
    1001 Lakeside Avenue East, Suite 1700                                                I October 6, 2020 at 10:00 a.m.*
                                                                                                                        **
     Cleveland, Ohio 44114                                                               I
   **ln lieu of personal appearance you may mail the reguested documents on or before October 6, 2020 to SSL.
        □ Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

    Place:                                                                                   Date and Time:




          The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
  Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to




  The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                                 Brian Cherkala, et al.
                                                                             , who issues or requests this subpoena, are:
Dennis R. Lansdowne, William Hawal and Michael P. Lewis - Spangenberg Shibley & Liber
-jnrn I          Awonuo Foot Quito 4700 riowolonrl Clhiz, AAHA- phnnn- 74

                                 Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things or the
  inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
  it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                                                                                                                                      /-------- \
Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                                                                                                       exhibit 1
                                                                                                                                      V________ >
                      Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 18 of 30


   AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)


   Civil Action No.


                                                                  PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

                 I received this subpoena for (name of individual and title,      if any)

   on   (date)                             .



                        served the subpoena by delivering a copy to the named person as follows:
                     Via certified mail; return receipt requested
                                                                                                                            on   (date)   9/15/2020   ; or

                       I returned the subpoena unexecuted because:




                 Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
                 tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
                 $                                   .

  My fees are $                                      for travel and $                             for services, for a total of $               0.00



             I declare under penalty of perjury that this information is true.


  Date:     Q




                                                                 Dennis Lansdowne, Esq.
                                                                                                   Printed name and title


                                                                 Spangenberg Shibley & Liber
                                                                 1001 Lakeside Avenue East, Suite 1700
                                                                  Cleveland, Ohio 44114
                                                                                                      Server's address


  Additional information regarding attempted service, etc.:




Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                 Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 19 of 30


  AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)


                               Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
  (c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                     not describe specific occurrences in dispute and results from the expert’s
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                 study that was not requested by a party.
  person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstances
     (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
  regularly transacts business in person; or                                         modifying a subpoena, order appearance or production underspecified
     (B) within the state where the person resides, is employed, or regularly        conditions if the seiving party:
  transacts business in person, if the person                                             (I) shows a substantial need for the testimony or material that cannot be
       (1) is a party or a party’s officer; or                                       otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial                (ii) ensures that the subpoenaed person will be reasonably compensated,
  expense.
                                                                                     (e) Duties in Responding to a Subpoena.
   (1) For Other Discovety. A subpoena may command:
     (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
  tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronical ly stored
  employed, or regularly transacts business in person; and                          information:
    (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                    must produce them as they are kept in the ordinary course of business or
  (d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                       (B) Form for Producing Electronically Stored Information Not Specified.
   (I) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
  responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
  to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
  subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
  enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
  lost earnings and reasonable attorney’s fees—on a party or attorney who           information in more than one form.
  fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                    responding need not provide discovery of electronically stored information
   (1) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
    (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
  documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
 production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
 hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
    (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
 things or to pennit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
 The objection must be served before the earlier of the time specified for          material must:
 compliance or 14 days after the subpoena is served. If an objection is made,           (i) expressly make the claim; and
 the following rules apply:                                                             (II) describe the nature of the withheld documents, communications, or
       (I) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
 may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
 order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
       (II) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
 order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
 significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                    notified, a party must promptly return, sequester, or destroy the specified
  (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
    (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
      (I) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
      (II) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
 specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
      (ill) requires disclosure of privileged or other protected matter, if no      resolved.
 exception or waiver applies; or
      (iv) subjects a person to undue burden.                                       (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
 motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
       (I) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
 development, or commercial information; or




                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
             Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 20 of 30




                                                      DUCES TECUM

                 1.     ‘'Document” means any type or kind of written, typewritten, transcribed,
         printed, electronic, digital, or recorded material, including, but not limited to, notes,
         memoranda, letters, videotapes, recordings, transcripts, statements, papers, files, tapes,
         affidavits, forms, data, printouts, reports, contracts, communications, correspondence,
         emails, email message printouts, information retrievable from a computer, computer data,
         recorded voicemail messages or conversations, diagrams, photographs, or any other
         writings of any kind.

                2.     “You,” "Your,” and “Yours” means the Cleveland Clinic Foundation,
         including any individual person (whether living or deceased), partnership, firm,
         corporation, association, joint venture, or other entity acting on its behalf or at its direction,
         including any agents, representatives, employees, and attorneys, upon whom these
         document requests were propounded.

                  3.     "Identify” or “Identifying,” means to set forth, portray, and/or explain in
         words.


             1) All documents which relate to the Cleveland Clinic Foundation’s (CCF) purchase
                of the Stockert 3T heater-cooler device utilized during Brian Cherkala’s surgery
                on August 28, 2017.

             2) All written communications by and between you and any LivaNova entity, Sorin
                Group Deutschland GMBH, or any related business entities concerning Stockert
                3T heater-cooler devices up until the present.

             3) All documents which identify all cleaning, disinfection, maintenance, or service
                performed on the Stockert 3T heater-cooler device used during Brian Cherkala’s
                surgery on August 28, 2017.

             4) All documents which identify any training, information, education, and/or
                certification provided to your employees by any LivaNova entity, Sorin Group
                 Deutschland GMBH, or any related business entities concerning the use,
                 cleaning, disinfection, maintenance, or servicing of Stockert 3T heater-cooler
                 devices.

             5) All documents that identify or relate to your policies, procedures, and protocols
                regarding the storage, use, cleaning, disinfection, maintenance, or servicing of
                Stockert 3T heater-cooler devices up until the present.

             6) All documents which contain or refer to communications by and between you
                and any LivaNova entity, Sorin Group Deutschland GMBH, or any related
                business entities concerning nontuberculous mycobacterium (NTM) infections or
                their prevention.



                                                                                                         1

Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
             Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 21 of 30




              7) All communications received from the United States Food and Drug
                 Administration (FDA) regarding the risk of cardiac surgery patients developing
                 NTM infections from circulatory system devices and/or heater-cooler devices.

             8) All medical device reports (MDRs) submitted by you to the FDA relating to Brian
                Cherkala’s M. chimaera infection.

             9) All MDRs submitted by you to the FDA relating to any NTM infection following
                cardiac surgery, with patient names redacted.

              10) All documents which identify or refer to any modifications to Stockert 3T heater­
                  cooler devices owned by you, including replacement of PVC tubing.

             11) All documents which relate or refer to inspection and/or testing of the
                 Stockert 3T heater-cooler device used during Brian Cherkala’s cardiac surgery
                 on August 28, 2017 for the presence of any NTM.

             12) AII documents which relate or refer to any genetic analysis or whole genome
                 sequencing of bacteria isolated from blood or tissue samples obtained from Brian
                 Cherkala.

             13) AII communications by and between you and any LivaNova entity, Sorin Group
                 Deutschland GMBH, or any related business entities and their representatives
                 concerning Brian Cherkala.

             14) Any documents referring or relating to any investigation into Brian Cherkala’s
                 heart valve surgery performed on August 28, 2017 and/or his M. Chimaera
                 infection.

             15) If you withhold production of any documents based upon the assertion of any
                 privilege, please produce a privilege log identifying the title, author, and date of
                 each document withheld, as well as the specific privilege that applies to each
                 such document.




Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
       Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 22 of 30




         Cleveland Clinic

                                                                                  Cheryl O'Brien, Esq.
                                                                                       Senior Counsel
                                                                         Direct Dial: (216) 448-0199
                                                                                Fax: (216)448-0204



October 8, 2020



VIA OVERNIGHT MAIL
William Hawal, Esq.
Spangenberg Shibley & Liber
1001 Lakeside Avenue East, Suite 1700
Cleveland, Ohio 44114

Re:     Brian Cherkala, et al. v. LivaNova PLC, et al.
        U.S. District Court, Northern District of Ohio, Case No. 1:20-cv-193 8
        Subpoena issued to The Cleveland Clinic Foundation

Dear Bill:

With regard to your subpoena duces tecum dated September 15,2020 (“subpoena”) and issued to
non-party The Cleveland Clinic Foundation (“CCF”), we will be producing to you documents
bates labeled Cherkala CCF 000001 through 001036.

These documents are being produced to you in good faith and specifically subject to the terms of
the attached Protective Order. CCF designates all of these documents as Protected Documents
under this Protective Order. Please sign and return a copy of the Protective Order to me prior to
opening any of the documents. Once you have returned the signed Protective Order, we will
provide you with the Password to open the disk. Please note that the Protective Order provides,
among other terms, that you require anybody else to sign this Protective Order before you share
any of the Protected Documents documents with them.

In producing these documents, CCF does not waive any objections to the subpoena. CCF
maintains the following objections: The subpoena contains requests that are vague, overly
broad, irrelevant and not proportional to the needs of the case in violation of FRCP 26(b). The
subpoena imposes undue burden and expense in violation of FRCP 45(d). The subpoena does
not comply with FRCP 45(a)(2) because it is not issued by the court where this matter is
pending. The subpoena requests information protected by the quality assurance and peer review
privileges set forth in Ohio statutory law and Ohio/federal case law, the attorney-client privilege,


Law Department                                                                 Phone: 216-448-0200
                                                                                      216-448-0201
                                    I CV 21 952213 / Confirmation Nbr. 2336456 / BATCH*:
Beachwood, OH 44122
                                            EXHIBIT 2
                                           k                         )
             Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 23 of 30



      the Health Insurance Portability & Accountability Act (HIPAA) and accompanying Ohio
      medical privacy laws, and the self-critical analysis privilege. Finally, the subpoena requests
      information that is otherwise confidential, including pursuant to federal and state statutes,
      proprietary, and readily available from other sources, including other parties in this case and
      public records.

      By producing these documents in good faith, CCF does not waive any of these objections.
      Thank you for your agreement to these terms.




Electronically Filed 08/26/2021 11:20 I MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                    Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 24 of 30
                                           SPANGENBERG
                                             SHIBLEYfi LIBER
                                                     TRIAL LAWYERS


                                               COMMITMENT. INTEGRITY. RESULTS.
PETER H. WEINBERGER, OF COUNSEL                                                                        CRAIG SPANGENBERG
WILLIAM HAWAL                                                                                                   (1914-1998)
PETER J. BRODHEAD, of counsel
DENNIS R. LANSDOWNE                                                                                     NORMAN W. SHIBLEY
STUART E. SCOTT                                                                                                 (1921-1992)
NICHOLAS A. DICELLO
JEREMY A. TOR, licensed in ny, oh                                                                             JOHN D. LIBER
DUSTIN B. HERMAN                                                                                                 (1938-2013)
MICHAEL P. LEWIS, LICENSED IN CA, OH
KEVIN C. HULICK
EMILY DAVIS




March 5, 2021


Via Email: obrienc@ccf.org
Cheryl O’Brien, Esq.
Cleveland Clinic Foundation
Law Department
3050 Science Park Drive | AC321
Beachwood, OH 44122

In Re: Brian Cherkala, et al vs. LivaNova PLC, et al
       U.S. District Court, Northern District of Ohio
       Case No. 1:20-cv-1938

Dear Cheryl:

I hope you and your family are safe and well. I write to you with respect to Brian Cherkala and
your response to our subpoena in this case. You may know that our case has been transferred
to the multi-district litigation in the Middle District of Pennsylvania.

In going through the documents the Clinic has produced, we note many categories requested in
which no documents have been produced. I will go through the list below.


           1.                   All documents which relate to the Cleveland Clinic Foundation’s (CCF)
                                purchase of the Stocker 3T heater-cooler device utilized during Brian
                                Cherkala’s surgery on August 28, 2017.

           No documents produced. Please have a records custodian confirm no documents
           exist responsive to this request.




                                                                                                   r
                                                                                                   exhibit 3
   Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                           SPANGENBERG SHIBLEY & LIBER LLP
     1001 Lakeside Avenue East, Suite 1700 ♦ Cleveland, OH 44114 ♦ P: 216.696.3232 ♦ F: 216.696.3924 ♦ spanglaw.com
            Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 25 of 30
March 5, 2021


  4.           All documents which identify any training, information, education, and/or
               certification provided to your employees by any LivaNova entity, Sorin Group
               Deutschland GMGH, or any related business entities concerning the use, cleaning,
               disinfection, maintenance, or servicing of Stockert #T heater-cooler devices.

         The documents produced have some communications relating to instruction for
         use but no evidence of any actual training provided to Clinic employees by any
         LivaNova entity. Please advise if any exist and have a records custodian confirm
         no other documents exist responsive to this request.


  5.           All documents that identify or relate to your policies, procedures, and protocols
               regarding the storage, use, cleaning, disinfection, maintenance, or servicing of
               Stockert 3T heater-cooler devices up until the present.

         No documents have been produced. I find it hard to believe that the Clinic does
         not have documents responsive to this request, particularly considering the issues
         that arose with the Stockert 3T units. These documents may be very important in
         our claims against LivaNova as LivaNova may well claim the Clinic is partly or
         wholly responsible for Brian’s infection. Please provide or have a records
         custodian confirm no documents exist.

  8.           All medical device reports (MDRs) submitted by you to the FDA relating to Brian
               Cherkala’s M. chimaera infection.

         Please have a records custodian confirm no documents exist responsive to this
         request.

  9.           All MDRs submitted by you to the FDA relating to any NTM infection following
               cardiac surgery, with patient names redacted.

         Please have a records custodian confirm no documents exist responsive to this
         request.


   10.         All documents which relate or refer to inspection and/or testing of the Stockert 3T
               heater-cooler device used during Brian Cherkala’s cardiac surgery on August 28,
               2017 for the presence of any NTM.

          Please have a records custodian confirm no documents exist responsive to this
         request.




 Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                   SPANGENBERG SHIBLEY & LIBER
            Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 26 of 30
March 5, 2021

   13.         All communications by and between you and any LivaNova entity, Sorin Group
                Deutschland GMBH, or any related business entities and their respentatives
               concerning Brian Cherkala.

         Please have a records custodian confirm no documents exist responsive to this
         request.

   14.         Any documents referring or relating to any investigation into Brian Cherkala’s
               heart valve surgery performed on August 28, 2017 and/or his M. Chimaera
               infection.

         Please have a records custodian confirm no documents exist responsive to this
         request.


   15.         If you withhold production of any documents based upon the assertion of any
                privilege, please produce a privilege log identifying the title, author, and date of
                each document withheld, as well as the specific privilege that applies to each such
               document.

         Again, we request a privilege log for any documents withheld.

   If you have any questions or concerns, please contact me. We are under deadlines in the
   MDL, so I would appreciate your response at your earliest convenience.




   dlansdowne@spanglaw. com


   DRL/lm




 Electronically Filed 08/26/2021 11:20 / MOTION I CV 21 952213 I Confirmation Nbr. 2336456 / BATCH
                                   SPANGENBERG SHIBLEY & LIBER
                  Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 27 of 30


Michael P. Lewis

From:                                   O'Brien, Cheryl <OBRIENC@ccf.org>
Sent:                                   Monday, May 24, 2021 2:13 PM
To:                                     Dennis Lansdowne; Leanne Melnick
Cc:                                     William Hawal; Tisha Broad; Michael P. Lewis
Subject:                                RE: Brian Cherkala, et al. v. LivaNova PLC, et al



Dennis, thanks for your email of May 18 and we appreciate your patience. We worked very hard to gather for you and
Bill the requested CCF records late last year, including a long list of non-medical-record materials regarding the 3T
heater-cooler as it relates to your client Mr. Cherkala, in response to the subpoena, and following a detailed search of
our records. Some of the documents we located were privileged and have not been produced for that reason, but all
non-privileged and responsive documents that we located pertinent to Mr. Cherkala were produced. This was a
thorough and good faith response to all requests in the subpoena. It certainly should provide you with everything
needed to participate in the MDL process where this case now resides, including the MDL settlement program. As to
any deadlines in the MDL, our understanding is that there are none applicable to the Cherkala matter. In fact, our
understanding is that discovery like this is supposed to be stayed in the MDL. We are certainly happy to continue
working with you as to any categories of additional documents that you still need for the MDL. But we'd first like a clear
understanding of whether discovery is stayed or not, and what specifically are the MDL deadlines to which you are
referring.
Cheryl

                                                 Cheryl O’Brien RN JD | Senior Counsel | Law Department
           Cleveland Clinic                       Cleveland Clinic | 3050 Science Park Drive, AC321 | Beachwood, OH
                                                  44122 | Phone (216) 448-0199 | Fax (216) 448-0204
                                                | obrienc@ccf.org
This communication, including any attachments, is confidential and may be protected by the attorney-client or other privileges. It is
intended only for the person or persons to whom it is addressed. If you have received this communication in error, please notify the
sender by e-mail or telephone and delete all copies of this e-mail, including any attachments.




From: Dennis Lansdowne [mailto:DLansdowne@spanglaw.com]
Sent: Tuesday, May 18, 2021 10:48 AM
To: Leanne Melnick <LM@spanglaw.com>; O'Brien, Cheryl <OBRIENC@ccf.org>
Cc: William Hawal <WHawal@spanglaw.com>; Tisha Broad <TBroad@spanglaw.com>; Michael P. Lewis
<mlewis@spanglaw.com>
Subject: [EXT] RE: Brian Cherkala, et al. v. LivaNova PLC, et al


   CAUTION CYBER RISK: This email originated from outside of the organization. Do not click links or open attachments
   unless you recognize the sender, expected to receive this content and trust that it's safe. If you determine that the email
   isn't from a trusted source, you can delete the email, submit it via the BlueFish button in Outlook for investigation or
   forward the email as an attachment to phishtanktriage@,ccf.org if you don't have the Bluefish button or are on a mobile
   device.




Cheryl: I have not received any response to my letter from two months ago. I know you are very busy but I need a
response as I am under deadlines in the Federal case. This case has been transferred to the Multi-District Litigation In
Pennsylvania and they have strict procedures. Please respond at your earliest convenience.
Thank you for your cooperation.
Dennis
   Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456
                                                                        1                                I
                                                                                                          BAT XH/B/T 4           )
                                                    Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 28 of 30
                                                                                                                          5




          From: Leanne Melnick <LM@spanglaw.com>
          Sent: Friday, March 05, 2021 1:21 PM
          To: O'Brien, Cheryl <OBRIENC@ccf.org>
          Cc: Dennis Lansdowne <DLansdowne@spanglaw.com>; William Hawal <WHawal@spanglaw.com>; Tisha Broad
          <TBroad@spanglaw.com>; Leanne Melnick <LM@spanglaw.com>
          Subject: Brian Cherkala, et al. v. LivaNova PLC, et al

           Ms. O'Brien, attached is correspondence from Dennis. Email will be the only form of transmittal.


From: Leanne Melnick <LM@spanglaw.com>
Sent: Friday, March 05, 2021 1:21 PM
To: O'Brien, Cheryl <OBRIENC@ccf.org>
Cc: Denn^Lansdowne <DLansdowne@spanglaw.com>; William Hawal <WHawal@spanglaw.com>; Tisha Broad
<TBro     P rR«S
          a          aw>; £tmneMewckf<eM@lpangi^wm>
Su2e      SBirMng&nWe'l-<.^ Shfbleya& Liber LLP
Ms5O r|   1 00aiaLeakeiirfsdeidAntveoTiDe? nE amtil ''Sibethe ojl700'f transmittal.
    CIeVeJanqi (W' I, ^ITJ
.   |(XM.Pa]eWqi/°JiliH0-am4Slit|c J700
paiO^                 weT-ggioe^Dii Lber llp
JoLe           e             f
MJ                                           4 FaX
    j
2 6-6|        63232 omn elaw.com | www.moaneIaw.com
                      o
21b-oyb-3^Edx- ®- 1------ *-- ®------
.m@mpangIaw.com | www.mpangIaw.com




    jmtgzDTOEpwcom | wwwBDsuajawcom
T 3JQ;QdQ."3d3^
     |M32 E      gx
                owcc

SpigiJgenb?i7' 2Wbleyl & Lifter llp
|oC|e:.'|n‘miqnq1'O]JiRi:-44 J1'1’ J700
         .T.1 amo A e ue East1 JuIte J700
gjS-fe^-fiePberS                   SP!biey & L!ber LLP
LKjlfilEftiftgfly.com | www.spanglaw.com




        Ms'                 auacpeq |s cuLLbsbuuqeuce fLom                                       dsuwb’         Emaii win pe ;pe ou|y fQLm of fLauBm^ai’


CON     SD^bj C t Br* n
            AL T ‘N     E:jT e inf ye r a l a, St aylV L VOf oVS
                                     a On n           'l             n    ac                 C
                                                                                     iffy1” e s  eta   f fthe intended recipient(s), and may contain confidential and legally
privrfegedcommiAicafons.'TfyoiUane not the intended recipient, any'disclosure, copyingrdisSrtbutiOn or use of the contents of this communication is strictly prohibited and may be
unla<f1‘Bdc^oald5^^lth9ul^^y/\^6'r(:o:5iKjUa>;cl^s3ll3^uSiefM,e T!iinitte:nke<iiecieipf(jho,s,:tb!9Tepgll’a/^thccsFn.dJ'>i-mmediately and aH copies returned deleted,
and defrayed. TO OUk’CLIENTS: Any dissemination of this' communication to third-parties maybe awaiver of the attorney-client privilege.
    Cc: Denms Lau^qQMUG <DLau^qQMUG@^baug|aM■CQm>; wpam Harnal <WHaMa|@^baug|aM■CQm>; jjjpa Broaq
  To: ^Brien' Chery <OBRIENC@ccf.org>
Dennis Lansdowne            >
Pa?eenrt: tLiq^W IO\|3Lcp 02 505! OS! blAI
SpbWamhfbaSinblW ®lU:!ie^e<LLIP^^baug|aM■CQm>
J00J Lakeside Avenue East, Suite J700

                                                                                         2




                 Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
                                                                                                                                                                       2
             Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 29 of 30




                                                           3IQ-Qd(
                                                           3IQ-Qd(
                                                           CjeAGjs:


Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
             Case 1:21-cv-01627-CCC Document 1-3 Filed 08/26/21 Page 30 of 30




Electronically Filed 08/26/2021 11:20 / MOTION / CV 21 952213 / Confirmation Nbr. 2336456 / BATCH
